














		


IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1094-06






THE STATE OF TEXAS



v.



CRAIG HILL JOHNSON, Appellee





ON APPELLEE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTH COURT OF APPEALS


GILLESPIE  COUNTY





		Keller, P.J., delivered the opinion of the Court in which PRICE,
WOMACK, KEASLER, HERVEY, HOLCOMB and COCHRAN, JJ., joined. 
JOHNSON, J., filed a concurring opinion. COCHRAN, J., filed a concurring opinion
in which PRICE and JOHNSON, JJ., joined.  MEYERS, J., filed a dissenting opinion. 


	Does a motorist violate the law when a license plate frame obscures or partially obscures
some aspect of the original design of the license plate, such as the name of the issuing state, the state
nickname, or a pictorial design?  We answer that question "yes."

I. BACKGROUND


	Appellee was stopped by a police officer solely because the license plate on his car was
partially obscured by a license plate frame.  The license plates on appellee's car were of the standard
Texas design.  The frame partially obscured the word "Texas," fully obscured the nickname "Lone
Star State," and obscured a depiction of  a space shuttle in a nighttime sky.  A black-and-white copy
of an exhibit depicting the license plate with the frame is attached to this opinion.  After the stop,
the officer determined that appellee was intoxicated and arrested him for driving while intoxicated.

	Before his trial, appellee moved to suppress evidence obtained as a result of the stop on the
ground that his car's license plate was not displayed in violation of the law.  The trial court granted
the motion, and the State appealed.  The court of appeals reversed, holding that appellee had violated
Texas Transportation Code §502.409(a)(7). (1)

II. ANALYSIS


	We read a statute in accordance with the plain meaning of its language, unless the language
is ambiguous or the plain meaning leads to absurd results that the Legislature could not have possibly
intended. (2)  The Transportation Code provides in relevant part: "A person commits an offense if the
person attaches to or displays on a motor vehicle a number plate or registration insignia that . . .  has
a coating, covering, or protective material that: . . . (B) alters or obscures the letters or numbers on
the plate, the color of the plate, or another original design feature of the plate." (3)  Even if we assumed
that the state name and nickname do not constitute "letters on the plate" within the meaning of this
provision, (4) they, along with the pictorial designs, plainly constitute other original design features of
the plate, the obscuring of which is prohibited by the statute. 

	Moreover, this reading of the statute does not lead to an absurd result that the Legislature
could not have possibly intended.  Subsection (B) of §502.409(a)(7) was added to the statute after
the Fifth Circuit handed down its decision in Granado, which held that a motorist did not violate the
law when his license plate frame obscured the name of the issuing state. (5)  It is reasonable to infer that
this provision may have been part of a legislative response to that decision. (6)  Subsequently, in
Contreras-Trevino, the Fifth Circuit concluded that the statutory amendment changed the legal
landscape in which Granado had been decided, and held that the 2003 amendment to the
Transportation Code proscribes the use of such license plate frames. (7)    

	We also observe that, although specialized and personalized plates are available, there are
a limited number of designs, which are dictated by statute and by the Texas Transportation
Commission. (8)  The Legislature might have wished to require the entire design of a license plate to
be displayed to help facilitate the quick detection of counterfeits.  License plates are primarily
functional items, and it is not unreasonable to prohibit decorative items or accessories that affect that
functionality even to a small degree.

	  We are mindful of the proposition that criminal statutes outside the penal code must be
construed strictly, with any doubt resolved in favor of the accused. (9)  So was the court of appeals. (10) 
But "strict construction" does not mean that we ignore the plain meaning of the statutory language. (11) 
We are also aware that the plain reading of the statute that we accord today (and that was also
accorded by the court of appeals in this case and by the Fifth Circuit) may mean that a small
percentage of vehicles in this state do not currently comply with the law.  Nevertheless, the timing
and the plain language of the statutory amendment compel our conclusion.

	The judgment of the court of appeals is affirmed. 

Delivered: February 14, 2007

Publish


	


1.   State v. Johnson, 198 S.W.3d 795 (Tex. App.-San Antonio 2006).
2.   Boykin v. State, 818 S.W.2d 782, 785 (Tex. Crim. App. 1991).
3.   Tex. Transp. Code §502.409(a)(7)(B).
4.   A different subsection within the same statute specifically proscribes conduct with
regard to both the "letters and numbers on the plate" and "the name of the state."  Tex. Transp.
Code §502.409(a)(6).
5.   See United States v. Granado, 302 F.3d 421, 424 (5th Cir. 2002); Contreras-Trevino,
448 F.3d 821, 823-824 (5th Cir. 2006)(discussing the effect of amendments to §502.409 on its
prior decision in Granado).
6.   The legislature also amended §502.409(a)(6), in part to add language referring to "the
name of the state in which the vehicle is registered."  See Contreras-Trevino, 448 F.3d at 823.
7.   Id. at 823.
8.   See Tex. Transp. Code §502.052 (designs selected by Texas Transportation
Commission); §504.102 (relating to personalization of specialty plates); see also Tex. Transp.
Code, Ch. 504, generally (various specialty plates dictated by the Legislature).
9.   Thomas v. State, 919 S.W.2d 427, 430 (Tex. Crim. App. 1996); cf. Tex. Pen. Code §
1.05(a)("The rule that a penal statute is to be strictly construed does not apply to this code.").
10.   Johnson, 198 S.W.3d at 797.
11.   Thomas, 919 S.W.2d at 430.


